Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 1 of 7
Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 2 of 7
Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 3 of 7
Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 4 of 7
Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 5 of 7
Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 6 of 7
Case 4:04-cr-00134-SWW   Document 126   Filed 02/07/06   Page 7 of 7
